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                                                                   For Official Use Only:




                                                                   Received by the Racine County Clerk on:



                         Claim Against Racine County
            Claimant’s Name: SHERRY JAMES, mother and next of kin to Malcolm Isaiah James
            Mailing Address: c/o O’Connor Law Firm, Ltd. 19 S. LaSalle, Suite 1400
            City: Chicago,                                State: IL      Zip:60603
            Phone Number: 312-906-7609                    E-mail Address:
                                                          Firm@koconnorlaw.com
            Date of Accident/Incident/Loss: May 30, 2021                 Time: Unknown
            Location of Accident/Incident/Loss: Racine County Jail – Loss of Life
            County Department Involved: Racine County Sheriff Department
            Amount Claimed: $20,000,000.00                NOTE: Attach itemized receipts for
                                                                   amount(s) claimed.
            Description of Accident/Incident/Loss: Provide a detailed description of the events
            that caused your claim including the location and specific address, if possible. State how
            Racine County or its employees were at fault. Include any supporting documents such as
            estimates, police reports, witness statements, etc. Attach additional pages if needed.

           The Racine County Sheriff’s Department, used excessive force and showed utter indifference to his
           medical needs resulting in his death.




                        I declare under penalty of perjury that the foregoing is true and correct.
            8/10/2021
            Date:                                     Signature:



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